         Case 3:19-mj-01755-JLB Document 3 Filed 04/29/19 PageID.44 Page 1 of 2


(




     1   ROBERT S. BREWER, JR.
         United States Attorney
     2
         CAROLINE P. HAN                                                        APR 2 9 2019
     3   Assistant U.S. Attorney
                                                                         CLERK US DIST HIC r COURT
         California BarNo.: 250301                                    SOUTHERN DISTHICT OF CALWOm�IA
     4                                                                BY                        Dt:PUTY
         Office of the U.S. Attorney
     5   SSO Front Street, Room 6293
         San Diego, CA 92101
     6
         Tel: (619) 546-696S
     7   Fax: (619) 546-0S31
         Email: caroline.han@usdoj.gov
     s

                                                                                      ORDER OF COURT
     9   Attorneys for the United States                       Cl\SE UNSEALED PER
    10
                                 UNITED STATES DISTRICT COURT
    11
                              SOUTHERN DISTRICT OF CALIFORNIA
    12

    13    In the matter of the search of
          Information that is stored at
                                                      No.                    19�AJ1755
    14                                                 APPLICATION FOR ORDER SEALING
          Sch.net,                                     SEARCH WARRANT,
    15                                                 ACCOMPANYING MATERIALS, AND
          9120 Double Diamond Parkway,
                                                       THIS APPLICATION AND SEALING
    16                                                 ORDER
          Suite 5901,
                                                       UNDER SEAL
    17
          Reno, NV S9521.
    lS

    19

    20          Upon motion of the United States of America for a sealing order and an Order

    21
         pursuant to Title lS, United States Code, Section 2705(b), precluding Sch.net, an
    22
         electronic communication service provider, from notifying any other person, other than
    23

    24   its essential personnel, o f the existence of this search warrant, the Court finds a s follows:

    25
                The Affidavit submitted in support of the search warrant provides reason to
    26
         believe that notification of the existence of this search warrant will result in destruction
    27

    2S   of or tampering with evidence, and/or otherwise seriously jeopardize the investigation.
     Case 3:19-mj-01755-JLB Document 3 Filed 04/29/19 PageID.45 Page 2 of 2




           IT IS HEREBY ORDERED that the search warrant, its accompanying materials,
 1

 2   this application and this Order are sealed until otherwise ordered by the Court, and that

 3
     Facebook, Inc. shall not disclose the existence of the warrant, the application or this
 4
     Order of the Court, or the existence of the investigation to the listed subscriber or to any
 5

 6   other person until October 28, 2019, absent further order from the Court.

 7
           Dated: April 28, 2019
 8

 9

10
     Presented by:
11

12

13

14

15   Assistant U.S. Attorney

16

17

18

19

20

21

22

23

24

25

26

27

28
